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12
13                     IN THE UNITED STATES DISTRICT COURT
14                   FOR THE NORTHERN DISTRICT OF CALIFORNIA

15   UNITED STATES OF AMERICA,                       Case No.: CR 17-00093 WHA
16             Plaintiff,
         v.
17
                                                     DEFENDANT BURTE GUCCI
18   BURTE GUCCI RHODES                              RHODES’ RESPONSE TO THE
              Defendant.                             GOVERNMENT’S TRIAL BRIEF ON
19
                                                     INTENT TIMING REQUIREMENT
20
                                                     TRIAL DATE: June 6, 2022
21
                                                     TIME: 7:30 a.m.
22
23
            The defense would like to address the government’s arguments
24
            1.   Telephones as instrumentalities of commerce.
25
            Of course, the defense would agree that interstate cellphone calls and messages
26
     could satisfy the jurisdictional element if at least one of those calls were part of the
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 1   murder for hire scheme. However, we don’t have that factual scenario before us.
 2   Instead, the government’s cooperating witness Craig Marshall will testify he “heard” a
 3
     conversation after the murder where Mario Robinson tells an unidentified person that
 4
     they will get their money. There is evidence of a 3 second call between Burte Rhodes’
 5
     and Mario Robinson’s phones after the murder. However, Mr. Marshall cannot confirm
 6
     it was Mr. Rhodes on the other line or if this is the call he heard.
 7
 8          The case United States v. Sullivan, 809 F Sup 934 addressed a similar issue,

 9   where four calls were alleged to establish the jurisdiction requirement in a murder for

10   hire allegation against an estranged husband in the killing of his wife. The government
11   was able to show that calls were placed, where they were place and that they were to the
12
     defendant. Id. at 936. They could not identify the persons who made the calls or what
13
     was discussed on the call. Id. The Court addressed the defendant’s request confirmed
14
     that use of the phone could provide the jurisdiction requirement but, “The use of the
15
16   telephone, however, must be shown to relate the murder.” Id. The Court concluded,

17   “With no evidence of the content and no evidence identifying the other parties to these

18   calls, no reasonable juror could have found beyond a reasonable doubt that the calls
19   “were used in the commission of the murder.” Id. at 938.
20
            Likewise, the mere fact there was a three second phone call between Mario
21
     Robinson and Burte Rhodes after the murder is not enough to establish the necessary
22
     jurisdictional requirement.
23
24          2. Case Law Cited Is a Distinct Factual Scenario

25          The government cites a number of cases that involve a murder-for-hire schemes

26   that involve insurance payment after the murder. Those scenarios involving insurance
27   payments are distinct from the facts before the Court. The intent to commit murder was
28
                                                                                               2
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 1   intrinsically linked and prefaced on future insurance payments. Therefore, although the
 2   actual jurisdiction element wasn’t satisfied until after the murder, the intent to use
 3
     interstate commerce was part of the scheme from its inception.
 4
             Here there will be testimony that an in-person agreement was made and days
 5
     later a $1,250 payment was made. There are conflicting accounts of what that money
 6
     was payment for. Craig Marshall did not send the money and cannot comment on its
 7
 8   role.

 9           The government points to a number of other circuit and chooses to ignore the

10   Ninth Circuit case in United States v. Driggers, 559 F. 3d 1021 (9th Cir. 2009). The
11   discussion was clear that causing the travel in interstate commerce must have been done
12
     with the intent that a murder. In the fact scenario before the court, the murderous
13
     intent was formed and completed when Trince Thibodeaux was murdered.
14
             Therefore, it is the defense position that the use of a phone or facility after the
15
16   murder in the facts before the court would not be sufficient for a violation of 18 U.S.C. §

17   1958(a).

18   DATED: June 5, 2022
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                                                 SIERRA DUGAN LAW
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21
                                                 /s/__Sierra Dugan_________
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23                                               Counsel for Defendant
                                                 BURTE GUCCI RHODES
24
25                                               /s/__Kenneth Wine_________
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